    Case 3:13-cr-00017-RLY-CMM Document 449 Filed 08/05/15 Page 1 of 6 PageID #: 1776
AO 245B       (Rev. 09/13) Judgment in a Criminal Case
              Sheet 1



                                       UNITED STATES DISTRICT COURT
                                                   Southern    District of        Indiana
                                                                      )
            UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                  )
                                                                      )
                     MICHAEL CLARK                                    )      Case Number: 3:13CR00017-004
                                                                      )
                                                                             USM Number: 11323-028
                                                                      )
                                                                      )      Steven L. Bohleber
                                                                             Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s) 1
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

   Title & Section             Nature of Offense                                                  Offense Ended           Count
21 U.S.C.§§841(a)(1)           Conspiracy to Possess with Intent to Distribute                      3/31/2013               1
    and (b)(1)(A)              50 Grams or More of Methamphetamine (Actual)
                               And 500 Grams or More of a Mixture or Substance
                               Containing a Detectable Amount of Methamphetamine


       The defendant is sentenced as provided in pages 2 through             5    of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                               is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                   07/22/2015
                                                                   Date of Imposition of Judgment



       A CERTIFIED TRUE COPY                                          __________________________________
                                                                   Signature of Judge
       Laura A. Briggs, Clerk
       U.S. District Court                                            RICHARD L. YOUNG, CHIEF JUDGE
       Southern District of Indiana
                                                                      United States District Court
                                                                   The Honorable Richard L. Young, U.S. District Court Chief Judge
       By                                                             Southern
                                                                   Name and TitleDistrict
                                                                                 of Judge of Indiana
                             Deputy Clerk
                                                                     8/05/2015
                                                                   Date
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AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of   5
 DEFENDANT:              MICHAEL CLARK
 CASE NUMBER:             3:13CR00017-004

                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     Time served

          The court makes the following recommendations to the Bureau of Prisons:


          The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.        p.m.       on                                          .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                           .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B     (Rev. 09/13) Judgment in a Criminal Case
            Sheet 3 — Supervised Release
                                                                                                        Judgment—Page     3    of        5
 DEFENDANT:               MICHAEL CLARK
 CASE NUMBER:              3:13CR00017-004
                                                       SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
 periodic drug tests thereafter.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913,
       et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
       she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
            The defendant must comply with the conditions listed below.


                                                  CONDITIONS OF SUPERVISION
 1)       The defendant shall not leave the judicial district without the permission of the court or probation officer.
 2)       The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
 3)       The defendant shall answer all inquiries by the probation officer and follow the instructions of the probation officer.
 4)       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
          other acceptable reasons.
 5)       The defendant shall notify the probation officer prior to any change in residence or employer.
 6)       The defendant shall not meet, communicate, or otherwise interact with a person whom the defendant knows to be engaged, or
          planning to be engaged, in criminal activity, or whom the defendant knows to have been convicted of a felony, unless granted
          permission to do so by the probation officer.
 7)       The defendant shall permit a probation officer to visit him at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer.
 8)       The defendant shall notify the probation officer within seventy-two hours of being arrested or having any official law
          enforcement contact.
 9)       The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court.
 10)      As directed by the probation officer, the defendant shall notify third parties of the nature of the defendant’s current offense
          conduct and conviction and shall permit the probation officer to make such notifications and confirm the defendant’s
          compliance with such notification requirement.
 11)      The defendant shall provide the probation officer access to any requested financial information.
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AO 245B     (Rev. 09/13) Judgment in a Criminal Case
            Sheet 3C — Supervised Release
                                                                                                    Judgment—Page    3.01   of      5
DEFENDANT:             MICHAEL CLARK
CASE NUMBER:            3:13CR00017-004


 12)      The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
          officer.
 13)      The defendant shall participate in a substance abuse treatment program at the direction of the probation officer, which may
          include no more than eight drug tests per month. The defendant shall abstain from the use of all intoxicants, including
          alcohol, while participating in a substance abuse treatment program. The defendant is responsible for paying a portion of
          the fees of substance abuse testing and/or treatment in accordance with his ability to pay.

 14)      The defendant shall submit to the search of his person, vehicle, office/business, residence and property, including computer
          systems and Internet-enabled devices, whenever the probation officer has a reasonable suspicion that a violation of a
          condition of release or other unlawful conduct may have occurred or be underway involving the defendant. Other law
          enforcement may assist as necessary. The defendant shall submit to the seizure of contraband found and should forewarn
          other occupants or users that the property may be subject to being searched.




 Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend
the term of supervision, and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                                  Defendant                                           Date


                                  U.S. Probation Officer/Designated Witness           Date
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 AO 245B    (Rev. 09/13) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page      4       of    5
  DEFENDANT:              MICHAEL CLARK
  CASE NUMBER:             3:13CR00017-004

                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                         Fine                                 Restitution
  TOTALS             $ 100.00                                           $ 2,500.00                           $

       The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

           Name of Payee                         Total Loss*                         Restitution Ordered                 Priority or Percentage




  TOTALS                                $              0.00                    $              0.00

        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the              fine          restitution.

             the interest requirement for the                 fine     restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B   (Rev. 09/13) Judgment in a Criminal Case
          Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page        5       of   5
 DEFENDANT:             MICHAEL CLARK
 CASE NUMBER:            3:13CR00017-004
                                                     SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        Lump sum payment of                                due immediately, balance due
                not later than                                   , or
                in accordance              C           D          E, or         G below; or
 B        Payment to begin immediately (may be combined with                    C,           D, or           G below); or
 C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D        Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E        Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
           restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
           amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
 G         Special instructions regarding the payment of criminal monetary penalties:


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
                   Defendant Name                                     Case Number                                Joint & Several Amount




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
       The defendant shall forfeit the defendant’s interest in the following property to the United States:
       any and all property constituting or derived from any proceeds the defendant obtained directly or indirectly as a result of the
       offense of which he is convicted, and any and all property used or intended to be used in any manner or part to commit and to
       facilitate the commission of the offense of which he is convicted.
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
